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 VII. REVIEW AND ANALYSIS OF ESTATE CAUSES OF ACTION IMPLICATED
 BY AFFILIATE TRANSACTIONS AND THE RELATIONSHIP AND COURSE OF
 DEALING AMONG RESCAP, AFI, ALLY BANK, AND CERBERUS
 G. AIDING AND ABETTING BREACH OF FIDUCIARY DUTY
      As discussed in Section VII.E, potential claims exist for breaches of fiduciary duties by
 ResCap’s directors and officers. The Examiner has concluded that, although certain potential
 claims for breaches of duties by ResCap fiduciaries are a close question, none of those
 fiduciary duty claims is likely to prevail.1 Based on that conclusion, it is also unlikely that any
 corollary claims against AFI and its affiliates for aiding and abetting breaches of duties by
 ResCap fiduciaries would prevail, despite troubling conduct in particular circumstances that
 makes certain claims a close question. General legal principles governing potential aiding and
 abetting claims will be discussed below, followed by analysis of the viability of certain
 potential claims in light of those legal principles.
      1. General Principles Of Aiding And Abetting Breach Of Fiduciary Duty
      If a fiduciary breaches a duty, any third parties involved in the pertinent transaction,
 including parent entities, financial advisors, law firms, banking institutions, and private equity
 firms, may be found liable for aiding and abetting the underlying breach of fiduciary duty.2
               a. Choice Of Law Regarding Substantive Legal Standards
      It is likely that either Delaware or Minnesota law would apply to a potential claim
 brought in a New York federal court against AFI Affiliates for aiding and abetting a breach of
 fiduciary duty by ResCap’s directors and officers.3 In New York, courts use three approaches
 to determine which state’s law applies to a claim for aiding and abetting a breach of fiduciary
 duty: (1) “an internal affairs approach”; (2) “a torts based ‘greatest interest’ approach”; and (3)
 1   See Section VII.E.2 (discussing various potential claims for breaches of duties by ResCap fiduciaries).
 2   See, e.g., Marino v. Grupo Mundial Tenedora, S.A., 810 F. Supp. 2d 601, 613 (S.D.N.Y. 2011); Brandt v.
     Hicks, Muse & Co., Inc. (In re Healthco Int’l, Inc.), 208 B.R. 288, 309 (Bankr. D. Mass. 1997).
 3   See Buckley v. Deloitte & Touche USA LLP, No. 06 Civ. 3291(SHS), 2007 WL 1491403, at *13 (S.D.N.Y.
     May 21, 2007) (aiding and abetting breach of fiduciary duty claim is “relate[d] to the internal affairs of a
     corporation, [and was therefore] governed by the law of the state of incorporation”); Official Comm. of
     Unsecured Creditors of Hydrogen, L.L.C. v. Blomen (In re Hydrogen, L.L.C.), 431 B.R. 337, 350 (Bankr.
     S.D.N.Y. 2010); Buchwald v. Renco Group, Inc. (In re Magnesium Corp. of Am.), 399 B.R. 722, 742 (Bankr.
     S.D.N.Y. 2009) (applying New York law to aiding and abetting breach of fiduciary duty claims with respect
     to corporation incorporated in Delaware with principal place of business in New York); Adelphia Commc’ns
     Corp. v. Bank of Am., N.A. (In re Adelphia Commc’ns Corp) 365 B.R. 24, 24, 41 (Bankr. S.D.N.Y. June 11,
     2007) (applying Pennsylvania law to aiding and abetting breach of fiduciary duty claims with respect to
     corporation incorporated in Delaware with principal place of business in Pennsylvania). The relevant entity
     for purposes of the choice-of-law analysis is ResCap rather than AFI. See In re Hydrogen, L.L.C., 431 B.R. at
     350. The same choice-of-law outcome applicable to a claim brought in New York federal court would likely
     apply to a claim brought in Minnesota state court, as a result of the substantial similarities of the elements of
     aiding and abetting breach of fiduciary duty claims under Delaware and Minnesota law. See Nelson v. Delta
     Int’l Machinery Corp., Civil No. 05-63, 2006 WL 1283896, at *2 (D. Minn. May 09, 2006) (“the first inquiry
     is whether an actual conflict of law exists,” which will be found “if the application of either state’s law would
     be outcome determinative”); Nodak Mut. Ins. Co. v. Am. Family Mut. Ins., 604 N.W.2d 91, 93-94 (Minn.
     2000).

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 “a hybrid approach.”4 Many courts have applied the internal affairs doctrine and thus have
 applied the law of the state of incorporation, similar to the choice-of-law analysis for a claim
 for breach of fiduciary duty.5 However, recent decisions have reflected a preference for the
 “greatest interest” approach.6 “The jurisdiction with the greatest interest is generally that of
 the principal place of business, where any injury as a consequence of any aiding and abetting
 would have been suffered.”7

      With respect to claims for aiding and abetting breaches of duties by ResCap fiduciaries,
 Delaware law would apply under an “internal affairs” approach (Delaware was ResCap’s state
 of incorporation, as well as its limited liability company location),8 or Minnesota law would
 apply under a “greatest interest” approach (Minnesota was ResCap’s principal place of
 business).9 Because, as discussed below, there are no material differences between aiding and
 abetting legal principles under Delaware and Minnesota law, the substantive outcome of the
 claim would be the same regardless of the approach taken under a choice-of-law analysis.




 4   Marino, 810 F. Supp. 2d at 613. Compare Buckley, 2007 WL 1491403, at *13 (aiding and abetting breach of
     fiduciary duty claim is “relate[d] to the internal affairs of a corporation, [and is therefore] governed by the law
     of the state of incorporation”), with Solow v. Stone, 994 F. Supp. 173, 177 (S.D.N.Y. 1998) (determining
     choice of law for aiding and abetting claim under tort analysis, applying law of jurisdiction with greatest
     interest in regulating behavior), and Pension Comm. of the Univ. of Montreal Pension Plan v. Banc of Am.
     Sec., LLC, 446 F. Supp. 2d 163, 191–92 (S.D.N.Y. 2006) (New York follows internal affairs doctrine but does
     not require its application if another state has overriding interest in dispute).
 5   See In re Hydrogen, L.L.C., 431 B.R. at 350 (“Caselaw in this district is split as to what choice-of-law
     principle applies to a claim for aiding and abetting breach of fiduciary duty.”); In re Adelphia Commc’ns
     Corp., 365 B.R. at 39–40 (“The New York cases that address choice of law issues applicable to claims for
     aiding and abetting breaches of corporate fiduciary duty are split on whether the law of the state of
     incorporation or the law of the state with the greatest interests applies. Many apply the law of the state of
     incorporation to claims for aiding and abetting breaches of corporate fiduciary duty, just as they apply the law
     of the state of incorporation to claims of breaches of corporate fiduciary duty themselves.”).
 6   In re Hydrogen, L.L.C., 431 B.R. at 350–51; In re Magnesium Corp. of Am., 399 B.R. at 742 (citing LaSala v.
     UBS, A.G., 510 F. Supp. 2d 213, 230–231 (S.D.N.Y. 2007); O’Connell v. Arthur Andersen LLP (In re
     AlphaStar Ins. Grp. Ltd.), 383 B.R. 231, 271–72 (Bankr. S.D.N.Y. 2008); Silverman v. H.I.L. Assocs. Ltd. (In
     re Allou Distrib. Inc.), 387 B.R. 365, 395–96 (Bankr. E.D.N.Y. 2008)).
 7   In re Hydrogen, L.L.C., 431 B.R. at 350; In re Magnesium Corp. of Am., 399 B.R. at 742 (applying New York
     law to aiding and abetting breach of fiduciary duty claims, with respect to corporation incorporated in
     Delaware with principal place of business in New York); In re Adelphia Commc’ns Corp., 365 B.R. at 41
     (applying Pennsylvania law to aiding and abetting breach of fiduciary duty claims with respect to corporation
     incorporated in Delaware with a principal place of business in Pennsylvania).
 8   See Sections III.E.6, VII.E.1.a. The “internal affairs” doctrine would lead to application of Delaware law to an
     aiding and abetting claim relating to a breach of fiduciary duty that occurred both before and after ResCap
     became a limited liability company. See In re Hydrogen, L.L.C., 431 B.R., at 347.
 9   See Residential Capital Corporation, Current Report (Form 10-K) (Mar. 28, 2006), at 1, 3; Residential Capital,
     LLC, Current Report (Form 10-K) (Mar. 13, 2007), at 1, 3; Residential Capital, LLC, Current Report (Form
     10-K) (Feb. 27, 2008), at 1, 4.

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                b. Choice Of Law Regarding Statutes Of Limitations

      With respect to an aiding and abetting claim brought in New York federal court, the
 choice-of-law analysis for the statute of limitations will mirror that applicable to the
 underlying fiduciary duty claim, and therefore the same limitations period will likely govern
 both claims.10 However, there is no unitary limitations period under New York law for a
 fiduciary duty claim, as the governing limitations period will depend on the basis of the claim
 and the relief sought.11 Thus, the statute of limitations governing a corollary aiding and
 abetting claim may similarly vary.12 There is some uncertainty with respect to the applicable
 limitations period, as between three and six years, that would govern an aiding and abetting
 claim brought in Minnesota state court.13

                c. Elements Of A Claim For Aiding And Abetting Breach Of Fiduciary Duty

      Under Delaware law, “[t]he elements of a claim for aiding and abetting a breach of
 fiduciary duty are (1) the existence of a fiduciary relationship, (2) the fiduciary breached its
 duty, (3) a defendant, who is not a fiduciary, knowingly participated in [the] breach, and
 (4) damages to the plaintiff resulted from the concerted action of the fiduciary and the non-
 fiduciary.”14 Some Delaware courts have elaborated that in order to be liable for aiding and



 10   In re Adelphia Commc’ns Corp., 365 B.R. at 57–58; In re Magnesium Corp. of Am., 399 B.R. at 743; Soward
      v. Deutsche Bank AG, 814 F. Supp. 2d 272, 279 (S.D.N.Y. 2011) (the “fiduciary duty-based claims, which
      include . . . claims for breach of fiduciary duty and aiding and abetting breach of fiduciary duty, have the same
      statute of limitations”).
 11   See Section VII.E.1.j(1) (discussing various potentially applicable statutes of limitations under New York
      law).
 12   See Section VII.E.1.j(3); Donenfeld v. Brilliant Tech Corp., 20 Misc.3d 1139(A), at *2 (S.D.N.Y. July 14,
      2008).
 13   The Minnesota statute of limitations for a claim for aiding and abetting a breach of fiduciary duty is six years.
      See Alliance Bank v. Dykes No. 62-CV-09-10096, 2012 WL 6734457, at *10 (Minn. App. Dec. 31, 2012).
      However, although there is scant relevant case authority, there is some possibility that a Minnesota court would
      apply the same “internal affairs” doctrine to an aiding and abetting claim as it would to the underlying claim for
      breach of fiduciary duty, which might result in a three-year limitations period under MINN. STAT. § 541.31
      (2013). See Matson Logistics, LLC v. Smiens, Civil No. 12-400, 2012 WL 2005607, at *5 (D. Minn. June 05,
      2012) (citing Rupp v. Thompson, No. C5-03-347, 2004 WL 3563775 (Minn. Dist. Ct. Mar. 17, 2004); Calleros v.
      FSI Intern., Inc., 892 F. Supp. 2d 1163, 1169 n.7 (D. Minn. 2012) (“Under the ‘internal affairs’ doctrine,
      fiduciary-duty claims against FSI’s directors are governed by Minnesota law because FSI is a Minnesota
      corporation.”) (citing Atherton v. FDIC, 519 U.S. 213, 223–24 (1997)); Transocean Grp. Holdings Pty Ltd. v.
      S.D. Soybean Processors, LLC, 663 F. Supp. 2d 731, 742 n.5 (D. Minn. 2009) (citing Potter v. Pohlad, 560
      N.W.2d 389, 391 (Minn. Ct. App. 1997)).
 14   Feeley v. NHAOCG, LLC, 62 A.3d 699, 658 (Del. Ch. 2012); see also In re Direct Response, 466 B.R. at 653;
      McGowan v. Ferro, 859 A.2d 1012, 1041 (Del. Ch. 2004), aff’d, 873 A.2d 1099 (Del. 2005); CVC Claims
      Litig. LLC v. Citicorp Venture Capital Ltd., No. 03 Civ. 7936, 2007 WL 2915181, at *4 (S.D.N.Y. Oct. 4,
      2007); Miller v. Greenwich Capital Fin. Prods., Inc. (In re Am. Bus. Fin. Servs., Inc. I), 361 B.R. 747, 757
      (Bankr. D. Del. 2007); Teacher’s Ret. Sys. of La. v. Aidinoff, 900 A.2d 654, 671 n.23 (Del Ch. 2006).

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 abetting a breach of fiduciary duty, the defendant must give “substantial assistance or
 encouragement to the fiduciary’s wrongful conduct.”15

      Under Minnesota law, the elements of a claim for aiding and abetting the tortious
 conduct of another, including aiding and abetting breach of a fiduciary duty, are: “(1) the
 primary tort-feasor must commit a tort that causes an injury to the plaintiff; (2) the defendant
 must know that the primary tort-feasor’s conduct constitutes a breach of duty; and (3) the
 defendant must substantially assist or encourage the primary tort-feasor in the achievement of
 the breach.”16

      The elements of the Delaware and Minnesota causes of action are substantially similar.
 As a threshold matter, under both Delaware and Minnesota law, an aiding and abetting claim
 is dependent upon the viability of an underlying claim for breach of fiduciary duty.17 Further,
 under both Delaware and Minnesota law, a plaintiff must demonstrate specific facts alleging
 that the defendant knowingly participated in the underlying breach, in addition to showing
 damages.18

                d. Aiding And Abetting Principles Under Delaware Law

      As noted above, under Delaware (and Minnesota) law, a predicate breach of fiduciary
 duty must exist in order for an aiding and abetting claim to be actionable, let alone
 successful.19 “Knowing participation” in the fiduciary duty breach “requires that the third
 party act with the knowledge that the conduct advocated or assisted constitutes such a
 breach.”20 The evidence must support the allegation that the defendant actively induced,




 15   See Rosener v. Majestic Mgmt., Inc. (In re OODC, LLC), 321 B.R. 128, 144 (Bankr. D. Del. 2005) (citations
      omitted).
 16   Alliance Bank, 2012 WL 6734457, at *11 (citing Witzman v. Lehrman, Lehrman & Flom, 601 N.W.2d 179,
      187 (Minn. 1999)); see also Senior Cottages of Am., LLC v. Morris, (In re Senior Cottages of Am., LLC), 438
      B.R. 414, 426 (Bankr. D. Minn. 2010).
 17   Debakey Corp. v. Raytheon Serv. Co. No. 14947, 2000 WL 1273317, at *20 (Del. Ch. Aug. 25, 2000);
      Alliance Bank, 2012 WL 6734457, at *11 (citing Witzman, 601 N.W.2d at 187).
 18   Malpiede v. Townson, 780 A.2d 1075, 1097, 1098 n.84 (Del. Supr. 2001); Matthews v. Eichorn Motors, Inc.,
      800 N.W.2d 823, 830–31 (Minn. App. July 11, 2011) (citing Witzman, 601 N.W.2d at 186).
 19   See Debakey Corp. v. Raytheon Serv. Co., 2000 WL 1273317, at *20; see also Related Westpac LLC v. JER
      Snowmass LLC, C.A. No. 5001-VCS, 2010 WL 2929708, at *8 (Del. Ch. July 23, 2010) (“Furthermore,
      because the breach of fiduciary duty claim is dismissed, the aiding and abetting claim must also be dismissed.
      Because ‘no cognizable breach of fiduciary duty claim is stated,’ the aiding and abetting claim also fails.”).
 20   Malpiede, 780 A.2d at 1097; see also Beard Research, Inc. v. Kates, 8 A.3d 573, 603 (Del. Ch. 2010); In re
      Nortel Networks, Inc., 469 B.R. 478, 510 (Bankr. D. Del. 2012) (“[T]he defendant must have known that the
      fiduciary’s conduct constituted a breach of the fiduciary’s duties.”); Miller v. Greenwich Capital Fin. Prods.,
      Inc. (In re Am. Bus. Fin. Servs., Inc. II), 384 B.R. 80, 91 (Bankr. D. Del. 2008).

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 encouraged, or exploited the fiduciary’s conduct that resulted in the breach of duty.21 Merely
 engaging in an arm’s-length transaction, however, will not amount to knowing participation in
 a fiduciary duty breach.22 Further, knowing participation can be inferred from the facts.23

       A plaintiff advancing an aiding and abetting claim must show that it suffered damages as
 a result of the underlying fiduciary duty breach.24 This element can be satisfied where, as a
 result of a breach of fiduciary duty, monies are no longer available to pay creditors of an
 insolvent company.25 For example, in ASARCO LLC v. Americas Mining Corp., the court held
 that creditors had established damages where as a result of an entity’s overpayment of certain
 bonds in breach of a fiduciary duty, “ASARCO could have paid its vendors and service
 providers to continue operations and generate more income to satisfy other creditors, or if
 forced into bankruptcy, this amount would have been available to ASARCO’s creditors as part
 of its bankruptcy estate.”26




 21   See Malpiede, 780 A.2d at 1097–98, 1098 n.84.
 22   See id.
 23   See In re Am. Bus. Fin. Servs., Inc. II, 384 B.R. at 91. For example, in Kates, the court held that an entity and
      one of its officers aided and abetted a breach of fiduciary duty committed by a defendant who allegedly
      misappropriated trade secrets. See Kates, 8 A.3d at 604. The Kates court found that the entity and officer
      “knowingly participated” in the breach, as the officer arranged for the manager to give a presentation
      revealing confidential information, and the defendant entity “funded [a company], the vehicle to which Kates
      brought over a vast quantity of information in breach of his fiduciary duties.” Id. While the officer contended
      that he interrupted the presentation to ensure that Kates was not disclosing confidential information, the court
      held that “actions . . . speak louder than their words . . . . [They] knew or should have known that Kates was
      using and disclosing to [the entity] confidential information . . . thereby breaching his fiduciary duties.” Id.
      However, Delaware courts have dismissed aiding and abetting claims where a “[c]omplaint merely states in
      general terms that [the defendant] knew the directors and officers of [the entity] who breached their fiduciary
      duties, knew that their conduct amounted to such breach, and directed, encouraged, and assisted such
      conduct.” Official Comm. of Unsecured Creditors v. CIT Group/Business Credit, Inc. (In re Jevic Holding
      Corp.), Bankruptcy No. 08-11006, 2011 WL 4345204, at *13 (Bankr. D. Del. Sept. 15, 2011) (“‘Threadbare
      recitals of the elements of a cause of action, supported by mere conclusory statements, do not suffice.’”).
 24   See McGowan, 859 A.2d at 1041; see also In re Jevic Holding Corp., 2011 WL 4345204, at *13 (plaintiff
      must “allege that it sustained damage that ‘resulted from the concerted action of the fiduciary and the
      nonfiduciary,’ as it is required to do under Delaware law”).
 25   See ASARCO LLC v. Am. Mining Corp., 396 B.R. 278, 413 (S.D. Tex. Aug. 30, 2008) (applying Delaware and
      New Jersey law).
 26   See id.

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               e. Aiding And Abetting Principles Under Minnesota Law

      Under Minnesota law, in addition to requiring a successful underlying claim for breach of
 fiduciary duty, the “latter two elements [of an aiding and abetting claim] are evaluated ‘in
 tandem’” such that “where there is a minimal showing of substantial assistance, a greater
 showing of scienter is required.”27 With respect to these elements of the claim:

                    [W]hether the requisite degree of knowledge or assistance exists
                    depends in part on the particular facts and circumstances of each
                    case. Factors such as the relationship between the defendant and
                    the primary tortfeasor, the nature of the primary tortfeasor’s
                    activity, the nature of the assistance provided by the defendant,
                    and the defendant’s state of mind all come into play.28

       Further, “aiding and abetting liability is based on proof of a scienter—the defendants
 must know that the conduct they are aiding and abetting is a tort.”29 This requires that the third
 party generally must have “actual knowledge that the primary tortfeasor’s conduct was
 wrongful.”30 However, “[i]n cases where the primary tortfeasor’s conduct is clearly tortious or
 illegal, some courts have held that a defendant with a long-term or in-depth relationship with
 that tortfeasor may be deemed to have constructive knowledge that the conduct was indeed
 tortious.”31 Generally, imputing constructive knowledge to an aiding and abetting defendant
 may be unlikely, as “whether [a primary tortfeasor’s] actions constituted a breach of his
 fiduciary duties requires a fact-intensive look at his conduct in comparison with that of a
 prudent person.”32




 27   Matthews v. Eichorn Motors, Inc., 800 N.W.2d 823, 830 (Minn. App. July 11, 2011) (citing Witzman v.
      Lehrman, Lehrman & Flom, 601 N.W.2d 179, 186 (Minn. 1999)).
 28   Matthews, 800 N.W.2d at 830.
 29   Park Midway Bank, N.A. v. R.O.A., Inc., No. A11-2092, 2012 WL 3263866, at *4 (Minn. App. Aug. 13, 2012)
      (citing Witzman, 601 N.W.2d at, 186).
 30   Senior Cottages of Am., LLC v. Morris, (In re Senior Cottages of Am., LLC), 438 B.R. 414, 426 (Bankr. D.
      Minn. 2010) (citing Witzman, 601 N.W.2d at, 188).
 31   Christopher v. Hanson, Civil No. 09-3703, 2011 WL 2183286, at *11 (D. Minn. June 06, 2011) (citing
      Witzman, 601 N.W.2d at, 188.
 32   Id.

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                f. Aiding And Abetting Breach Of Fiduciary Duty In The Parent-Subsidiary
                   Context

      Parent corporations can be held liable for aiding and abetting breaches of fiduciary
 duties.33 In fact, “it is uncontroversial for parent corporations to be subjected to claims for
 aiding and abetting breaches of fiduciary duty committed by directors of their subsidiaries.”34
 Aiding and abetting claims can be brought against a parent entity where a subsidiary is left
 insolvent; a creditor of an insolvent debtor can sue a debtor’s parent for purposely injuring the
 insolvent debtor to benefit the parent.35 For example, an aiding and abetting claim may lie
 against a parent entity where it has “concocted, in bad faith, a scheme whereby one of its
 controlled, first-tier subsidiaries was rendered unable to pay its debts because [the parent] and
 a second-tier subsidiary permitted [the parent’s] newly formed affiliate to obtain an equity
 interest in a third-tier subsidiary for an unfair value.”36

       With regard to the requisite knowledge a parent entity must have in order to be found
 liable for aiding and abetting, a relevant factor is whether “there was significant overlap
 between the board members” of the parent and subsidiary entities.37 The ASARCO court noted
 that “ASARCO’s board members who were not also on [the parent’s] board were otherwise
 affiliated” with the parent company,38 and also emphasized that “stocking the boards of its
 subsidiaries with [parent company] employees or loyal retainers was described as a ‘uniform
 practice’ and was one that continued up through the transaction in question, contrary to the
 advice of its corporate counsel.”39 The ASARCO court similarly found that the parent’s actions
 could establish “substantial assistance” with respect to the underlying fiduciary duty breach:

                      [The parent] gave substantial assistance or encouragement to
                      ASARCO’s directors’ breach . . . [and the parent] was intricately
                      involved in every aspect of the transaction. It was [the parent]
                      that established the terms of the transaction and orchestrated the
                      transfer of the stock from ASARCO [ ] to [the parent]. It also
 33   See ASARCO LLC v. Ams. Mining Corp., 396 B.R. 278, 415–16 (S.D. Tex. Aug. 30, 2008); VFB v. Campbell
      Soup Co., 482 F.3d 624, 634 (3d Cir. 2007); Claybrook v. Morris (In re Scott Acquisition Corp.), 344 B.R.
      283, 290 (Bankr. D. Del. 2006) (recognizing that a parent company may be sued for aiding and abetting
      breaches related to its subsidiary).
 34   Allied Capital Corp. v. GC-Sun Holdings, L.P., 910 A.2d 1020, 103–39 (Del. Ch. 2006) (“[Delaware’s]
      acceptance of claims for aiding and abetting breaches of fiduciary duty brought against parent corporations
      and their affiliates, including subsidiaries, belies any outright rejection of the proposition that wholly-owned
      and/or commonly-controlled entities cannot be held responsible for each other’s acts when those acts result
      from concerted unlawful activity”).
 35   See id. at 1025.
 36   Id.
 37   ASARCO, 396 B.R. at 412.
 38   Id.
 39   Id. at 302–3.

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                       dictated how the funds would be spent. It rejected all
                       alternatives and insisted [on] the transaction . . . . [T]he evidence
                       clearly establishes [the parent’s] substantial assistance in
                       structuring and closing the transaction that constituted the
                       directors’ breach. Therefore, the Court finds that [the parent]
                       knowingly participated in ASARCO’s directors’ breach of
                       fiduciary duty.40

                g. Aiding And Abetting Breach Of Fiduciary Duty In The Limited Liability
                   Company Context

       Parties may be held liable for aiding and abetting breaches of fiduciary duties owed by
 members and managers of a limited liability company.41 For example, in In re Opus East,
 L.L.C., a bankruptcy trustee brought aiding and abetting breach of fiduciary duty claims
 against a limited liability company that was the debtor’s sole member, a related corporation,
 and other entities and individuals who controlled the debtor, which allegedly existed to
 distribute capital to its parent.42 While the defendant pointed to an exculpatory clause in the
 limited liability company agreement in support of its motion to dismiss the aiding and abetting
 claims, the court held that an exculpatory clause is an affirmative defense and not a basis for a
 motion to dismiss, and that “[b]ecause the duties owed by fiduciaries are the same whether it
 be a corporation or limited liability company, the fiduciary duties the Defendants owe the
 Debtor are derived from common law and not dependent on the LLC Agreement.”43




 40   Id. at 412–13.
 41   See Feeley v. NHAOCG, LLC, 62 A.3d 644, 660 (Del. Ch. Nov. 28, 2012) (“Numerous Court of Chancery
      decisions hold that the managers of an LLC owe fiduciary duties.”); In re Opus East, L.L.C., 480 B.R. 561,
      572 (Bankr. D. Del. 2012) (“[T]he duties owed by fiduciaries are the same whether it be a corporation or
      limited liability company, the fiduciary duties the Defendants owe the Debtor are derived from common law
      and not dependent on the LLC Agreement.”).
 42   See 480 B.R. at 566.
 43   Id. at 572; see also In re OODC., LLC, 321 B.R. 128, 144 (Bankr. D. Del. 2005) (principal of selling company
      could be held liable in action brought by Chapter 11 trustee of limited liability company for aiding and
      abetting breaches of fiduciary duties owed by selling company’s officers and directors).

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                h. Potential Affirmative Defenses To An Aiding And Abetting Claim

                    (1) Exculpation Provision

       While a party accused of breaching a fiduciary duty may avoid liability by asserting as an
 affirmative defense section 102(b)(7) of the Delaware Code, which exculpates certain
 breaches of fiduciary duty,44 “[s]ection 102(b)(7) . . . do[es] not protect aiders and abetters.”45
 Even if the underlying primary violator on a claim for breach of fiduciary duty cannot be held
 liable because of an applicable exculpation clause, aiders and abetters of that breach can
 nevertheless be held liable:

                    [The] duty of care claim is dismissed as to the director
                    Individual Defendants because the § 102(b)(7) provision in [the
                    entity’s] certificate of incorporation exculpates them from
                    monetary liability on such a claim . . . . The fact that [the]
                    directors can be held harmless for breaching their duty of care
                    does not necessarily prevent the Court from ultimately finding
                    that a breach of the duty of care occurred and was knowingly
                    assisted by some or all of the Lenders, however.46

 Accordingly, a viable aiding and abetting claim can be advanced even in connection with an
 underlying claim for breach of the duty of care that may be exculpated by a corporate charter.

                    (2) In Pari Delicto Defense

      Both Delaware and Minnesota law recognize the in pari delicto doctrine as a potential
 defense to an aiding and abetting claim.47 Under the in pari delicto doctrine, “a party is barred
 from recovering damages if his losses are substantially caused by activities the law forbade
 him to engage in.”48 Delaware courts do not require the application of an “equal fault”
 44   See Section IV.B (discussing exculpation issues with respect to ResCap fiduciaries).
 45   In re Celera Corp. Shareholder Litig., Civil Action No. 6304-VCP, 2012 WL 1020471, at *28 (Del. Ch. Mar.
      23, 2012); see also In re Del Monte Foods Co. Shareholders Litig., 25 A.3d 813, 838 (Del. Ch. 2011) (“By
      their terms, Sections 102(b)(7) and 141(e) do not protect aiders and abetters.”).
 46   In re Fedders N. Am., Inc., 405 B.R. 527, 544 n.8 (Bankr. D. Del. 2009) (citing Khanna v. McMinn, No. Civ.
      A. 20545-NC, 2006 WL 1388744 at * 25 (Del. Ch. May 9, 2006) (“Charter provisions adopted under §
      102(b)(7) merely work to exculpate liability, but do not erase the underlying breach of fiduciary duty.”)).
 47   See Am. Int’l Grp. v. Greenberg (In re Am. Int’l. Grp. Consol. Deriv. Litig.), 976 A.2d 872, 882 (Del. Ch.
      2009) (citing Burns v. Ferro, No. C.A. 88C-SE-178, 1991 WL 53834, at *2 (Del. Super. Mar. 28, 1991)); In
      re Senior Cottages of Am., LLC, 482 F.3d 997, 1005 (8th Cir. 2007); In re Petters Co., Inc., 480 B.R. 346,
      360-61 (Bankr. D. Minn. 2012).
 48   In re Am. Int’l Grp. Consol. Deriv. Litig., 976 A.2d 872, 883 (citing In re LJM2 Co–Inv., L.P., 866 A.2d 762,
      883 (Del. Ch.2004)); see also OHC Liquidation Trust v. Credit Suisse First Bos. (In re Oakwood Homes
      Corp.), 389 B.R. 357, 365 (D. Del. 2008) (“a plaintiff’s recovery may be barred by his own wrongful
      conduct”) (quoting Pinter v. Dahl, 486 U.S. 622, 632 (1988)), aff’d, 356 F. App’x 622 (3d Cir. 2009); In re
      Petters Co., Inc., 480 B.R. 346, 360 (Bankr. D. Minn. 2012).

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 principle that requires a court to discern “which of the parties acted with the guiltiest mind.”49
 Rather, the application of the in pari delicto doctrine in Delaware “simply requires the court to
 determine that each party acted with scienter in the sense that it was a knowing and substantial
 participant in the wrongful scheme.”50 Under Minnesota law, “in pari delicto operates to bar
 suits between two wrongdoers who are at equal fault.”51 Several exceptions exist to the
 applicability of the in pari delicto doctrine,52 including the “adverse interest” exception under
 both Delaware and Minnesota law.53

                i. Burden With Respect To Fraud-Based Aiding And Abetting Claim

      As with respect to a claim for breach of fiduciary duty, a plaintiff alleging fraud as an
 aspect of a claim for aiding and abetting a breach of fiduciary duty must meet the
 requirements of Federal Rule of Civil Procedure 9(b).54

                j. Remedies On An Aiding And Abetting Claim

      A party that aids and abets a fiduciary duty breach “is liable for the full amount of
 damages to the injured party caused by that breach,”55 and will be liable for these damages
 even if that party did not profit from the breach.56 Accordingly, a successful claim for aiding
 and abetting breach of fiduciary duty may result in a monetary recovery against aiders and
 abettors.57
 49   In re Am. Int’l Grp. Consol. Deriv. Litig., 976 A.2d at 884.
 50   Id.
 51   Christians v. Grant Thornton, LLP, 733 N.W.2d 803, 810 (Minn. App. 2007).
 52   See In re Am. Int’l Grp. Consol. Deriv. Litig., 976 A.2d at 883; Off. Comm. of Unsecured Creditors of
      Allegheny Health, Educ. & Research Found. v. PricewaterhouseCoopers, LLP, 607 F.3d 346, 354 (3d Cir.
      2010) (citations omitted); Christians v. Grant Thornton, LLP, 733 N.W.2d 803, 810 (Minn. App. 2007).
 53   See In re Am. Int’l. Grp. Consol. Deriv. Litig., 976 A.2d at 891; Christians v. Grant Thornton, LLP, 733
      N.W.2d 803, 810 (Minn. App. 2007); see generally Section VII.L.1.b.2 (discussing the applicability of the in
      pari delicto doctrine and its exceptions under New York and Minnesota law with respect to the 2006 Bank
      Restructuring).
 54   See Marino v. Grupo Mundial Tenedora, S.A., 810 F. Supp. 2d 601, 606 (S.D.N.Y. 2011); Silverman v. H.I.L.
      Assocs. Ltd. (In re Allou Distribs. Inc.), 387 B.R. 365, 409 (Bankr. E.D.N.Y. 2008); see also Section VII.E.1.h
      (discussing a plaintiff’s burden with respect to advancing a fraud-based fiduciary duty claim).
 55   28 GLEN BANKS, N.Y. PRAC., CONT. L. § 21:68 (1st ed. 2006) (citing Klein v. Gutman, 12 A.D.3d 348, 784
      N.Y.S.2d 145 (N.Y. App. Div. 2004)); see also Beard Research, Inc. v. Kates, 8 A.3d 573, 619 (Del. Ch.
      2010); Pace v. Perk, 81 A.D.2d 444, 454-456 (N.Y. App. Div. 1981) (“Any one who knowingly participates
      with a fiduciary in a breach of trust is liable for the full amount of the damage caused thereby to the cestuis
      que trust.”).
 56   See 28 GLEN BANKS, N.Y. PRAC., CONT. L. § 21:68 (1st ed. 2006) (citing Diduck v. Kaszycki & Sons
      Contractors, Inc., 974 F.2d 270, 284 (2d Cir. 1992)).
 57   See In re Hechinger Inv. Co., 274 B.R. 71, 89 n.8 (D.Del. 2002).

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       2. Potential Claims Exist For Aiding And Abetting Breaches Of Duties By ResCap
          Fiduciaries

      As discussed in Section VII.E.2, potential claims exist for breaches of duties by ResCap
 fiduciaries related to various Affiliate Transactions between ResCap and AFI. However,
 although ResCap fiduciaries engaged in certain problematic conduct in connection with such
 transactions, the Examiner has concluded that fiduciary duty claims, although a close question
 with respect to specific ones, would be unlikely to prevail because of particular factual and
 legal impediments to their success.58 As a result, any corollary claims against AFI for aiding
 and abetting underlying breaches of fiduciary duty would similarly be unlikely to prevail. In
 the absence of a viable predicate claim of breach of fiduciary duty, it is unlikely that any
 associated aiding and abetting claim against AFI could survive as a matter of law.59

                a. Potential Aiding And Abetting Claims Relating To 2006 Bank Restructuring

       The factual circumstances surrounding the effort to secure approval by Independent
 Directors Jacob and Melzer of the 2006 Bank Restructuring are troubling.60 ResCap
 fiduciaries, including several with dual affiliations with ResCap and AFI (including Feldstein
 and Walker), purposefully withheld certain material information from Jacob and Melzer
 relating to the option of ResCap obtaining a voting interest in the restructured bank.

      The Independent Directors were led to believe that the closing of the Cerberus
 transaction hinged on the approval of the 2006 Bank Restructuring on the transaction terms
 presented, which encompassed ResCap obtaining only a non-voting interest in the restructured
 bank. That result, in fact, was not dictated by the terms of the Cerberus PSA. ResCap
 fiduciaries had ample opportunities to disclose the withheld information to Jacob and Melzer
 and their counsel, but chose not to do so. The Independent Directors’ approval of the 2006
 Bank Restructuring, therefore, was arguably procured on the basis of incomplete material
 information. Had the dual-affiliated ResCap fiduciaries provided the withheld information to
 the Independent Directors, further negotiations between the parties regarding the terms of the
 transaction could—and likely would—have resulted in more favorable terms for ResCap.61

     AFI-affiliated insiders, therefore, were involved in a protracted effort to withhold certain
 material information from the Independent Directors, which accrued to ResCap’s detriment.62
 However, while a close question, the Examiner concludes it is more likely than not that a
 58   See Section VII.E.2 (discussing merits of, and conclusions regarding, various potential fiduciary duty claims).
 59   See Section VII.G.1.c (an aiding and abetting claim is dependent on the viability of an underlying claim for
      breach of fiduciary duty).
 60   See Sections V.A, VII.E.2.a, VII.L.1 (discussing the facts relevant to the 2006 Bank Restructuring).
 61   See Sections VII.E.2.a(3), VII.L.1 (discussing issues related to the harm that may have resulted from the
      concealment by ResCap fiduciaries, including affiliates of AFI, from the Independent Directors of material
      information relating to the 2006 Bank Restructuring).
 62   See Sections V.A, VII.E.2.a, VII.L.1 (discussing role of AFI-affiliated insiders in concealment effort).

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 claim against AFI and its affiliates for aiding and abetting a breach of duty by ResCap
 fiduciaries would not prevail. As a threshold matter, the Examiner has determined that the
 underlying fiduciary duty claim, upon which an aiding and abetting claim necessarily would
 be predicated,63 is, although a close question, unlikely to prevail.64 Legal impediments exist to
 the success of the underlying fiduciary duty claim, including the absence of a definitive
 fiduciary duty to disclose the withheld information to the Independent Directors65 and barriers
 to the claim’s timeliness.66 Accordingly, to the extent the underlying fiduciary duty claim is
 destined to fail in the face of formidable legal obstacles, a corollary aiding and abetting claim
 could not succeed.

       Further, even if the underlying fiduciary duty claim could overcome the various
 impediments to its success, a related aiding and abetting claim would confront its own hurdles.
 A plaintiff would have to show “knowing participation” by the AFI-affiliated insiders in the
 underlying breach of fiduciary duty.67 While the AFI-affiliated insiders likely understood that
 certain information was being withheld from the Independent Directors, it is much less certain
 that they understood that any fiduciary duties were being breached in the process. Indeed, it is
 likely, as a matter of law, that a fiduciary duty to disclose the withheld information would not
 be chargeable to the ResCap fiduciaries,68 and therefore unlikely that the AFI-affiliated
 insiders “knowingly participated” in conduct that they understood constituted a breach of
 fiduciary duty. Further, they may have rationalized withholding the information from the
 Independent Directors on the basis of their own conception of and justification for the
 transaction in a broader context.69 The AFI-affiliated insiders, therefore, likely did not know
 they were aiding and abetting a tort, and thus more likely than not lacked the requisite scienter
 to satisfy a key element of the claim. Finally, as with respect to a potential fraud claim against
 AFI related to the 2006 Bank Restructuring, the in pari delicto doctrine would pose a
 substantial threshold barrier to an aiding and abetting claim based on the participation of
 ResCap fiduciaries in the alleged misconduct.70



 63   See Section VII.G.1.c (discussing necessary dependence of aiding and abetting claim on predicate claim for
      breach of fiduciary duty).
 64   See Section VII.E.2.a (discussing conclusions regarding viability of underlying claim for breach of fiduciary
      duty related to the 2006 Bank Restructuring).
 65   See Section VII.E.2.a(1) (discussing whether ResCap directors and officers had a fiduciary duty to disclose the
      withheld information to the Independent Directors).
 66   See Section VII.E.2.a(2) (discussing whether the underlying fiduciary duty claim may be time-barred).
 67   See Section VII.G.1.c.
 68   See Section VII.E.2.a(1).
 69   See Sections VII.L.1.a, VII.L.1.b(2), VII.L.1.b(3) (discussing the factual background of the 2006 Bank
      Restructuring and the viability of a related fraud claim in the context of the broader circumstances).
 70   See Section VII.L.1.b(2) (discussing standing and in pari delicto impediments to the viability of a fraud
      claim).

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                b. Potential Aiding And Abetting Claims Relating To Prepetition Asset Sales

      The Examiner concludes it is unlikely that a claim for aiding and abetting breaches of
 fiduciary duty relating to the Prepetition Asset Sales would prevail. There was likely no
 misconduct by and no harm to ResCap associated with those Affiliate Transactions.

       As discussed in Section VII.E.2.b, the Examiner concluded it is unlikely that any claim
 for breach of fiduciary duty relating to the Prepetition Asset Sales would prevail. Although
 certain of those transactions occurred under hurried circumstances and on a rapid schedule,71
 ResCap fiduciaries appear to have made informed decisions to engage in the transactions.
 Further, even if fiduciary duties were breached, there is no indication that ResCap was
 harmed. Thus, in the absence of a viable claim for breach of duty by ResCap fiduciaries
 related to the Prepetition Asset Sales, a corollary aiding and abetting claim against AFI is
 unlikely to prevail.

                c. Potential Aiding And Abetting Claims Relating To The January 30 Letter
                   Agreement, $48.4 Million Prepetition Indemnity Payment, And A&R Servicing
                   Agreement

      The Examiner concludes it is unlikely that claims for aiding and abetting breaches of
 fiduciary duty relating to the January 30 Letter Agreement, a related $48.4 million prepetition
 indemnity payment to Ally Bank, and the A&R Servicing Agreement would prevail.

     As discussed in Section VII.E.2.c, those Affiliate Transactions were generally the
 product of extensive, arm’s-length negotiations; reflected reasonable decision-making by
 ResCap fiduciaries, often in the face of difficult circumstances; and resulted in no harm to
 ResCap.72 Here, too, an aiding and abetting claim would need to be predicated on a viable
 underlying claim for breach of fiduciary duty,73 and likely could not be.

                d. Potential Aiding And Abetting Claims Relating To Approval Of The AFI And
                   RMBS Trust Settlements

      The Examiner concludes it is unlikely that claims for aiding and abetting breaches of
 fiduciary duty relating to the work of the Special Review Committee and ResCap Board with
 respect to approval of the (now-terminated) AFI Settlement and Plan Sponsor Agreement and
 the RMBS Trust Settlement Agreements would prevail. Although the efforts of the involved
 ResCap fiduciaries were not optimal, they do not rise to the level of breaches of fiduciary
 duty,74 and therefore no corollary aiding and abetting claims against AFI are likely to be
 viable.
 71   See generally Section V.F (discussing facts pertinent to the Prepetition Asset Sales between ResCap and AFI).
 72   See generally Section V.C (discussing facts pertinent to these related-party transactions).
 73   See Section VII.G.1.c.
 74   See Section VII.E.2.d (discussing viability of potential fiduciary duty claims related to these agreements).

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      Most significantly, AFI cannot be held liable for the sub-optimal performance of the
 ResCap Board in relation to these agreements.75 The work of the Special Review Committee
 of the ResCap Board and their legal counsel in connection with investigating and settling
 potential claims against AFI was incomplete and flawed, yet AFI cannot be held legally
 responsible for those deficiencies as the work was conducted independently of AFI. Similarly,
 defects in the ResCap Board’s consideration and approval of the RMBS Trust Settlement
 Agreements cannot properly be attributed to participation by AFI.




 75   See generally Section III.J (discussing flawed processes that led to the ResCap Board’s approval of the AFI
      Settlement and Plan Sponsor Agreement and RMBS Trust Settlement Agreements).

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